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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

The State of Texas, et al.,

                       Plaintiffs,
                                             Case No. 4:20-cv-00957-SDJ
v.
                                             Hon. Sean D. Jordan
Google LLC,

                       Defendants.



PLAINTIFF STATES’ OPPOSITION TO GOOGLE’S SECOND CORRECTED MOTION
     TO CLARIFY THE COURT’S SCHEDULING ORDER TO PROVIDE FOR
      POTENTIAL POST-TRIAL PROCEEDINGS ON INJUNCTIVE RELIEF
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                                       INTRODUCTION

       Google’s motion to “clarify” the Scheduling Order in this case presents the Court with

seemingly high-minded arguments about the benefits of bifurcating discovery and trial between

liability and equitable remedies in complex antitrust proceedings. But Google’s extensive

exposition obscures the simple nuts and bolts of Google’s request.

       Six weeks ago, Plaintiff States served on Google their opening expert reports. One of the

States’ reports1 analyzed a set of equitable remedies that can restore competition and resolve

Google’s conflicts of interest in the ad tech markets that Google has anticompetitively and

deceptively contorted through the conduct Plaintiff States challenge. Google was, it claims,

“surprised” by the States’ disclosure of a report on equitable remedies, Dkt. 571 at 5—despite the

plain terms of this Court’s Scheduling Order, every other schedule proposed or entered in this case,

and explicit, repeated acknowledgment by both parties over the past 18 months that the ongoing

discovery included issues related to equitable remedies. Google now asks the Court to modify its

Scheduling Order and allow Google to withhold two reports that Google represents it will be

prepared to serve on Plaintiff States by August 6 if the Court denies its motion.

       In short, under its proposal, Google would have Plaintiff States’ expert opinions on

equitable remedies in hand but withhold from the States its opposing opinions until some

undetermined point after next spring’s trial. The States would be at a disadvantage at trial and in

post-trial proceedings, having disclosed their expert opinions on remedies and received nothing in




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  Google selectively quotes but chose not to include the States’ equitable remedies report with its
motion. Plaintiff States file this report under seal as Exhibit E to this Response. While Google’s
motion uses the terminology “injunctive relief,” the States also seek equitable remedies, including
structural and behavioral remedies, as pleaded and as disclosed in the States’ discovery responses
and expert report.

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return for many months. Post-trial proceedings and resolution would be delayed. And Google

would have manipulated the purported ambiguity in the Court’s Scheduling Order to its advantage.

       Google’s motion comes nowhere close to justifying such prejudicial and unprecedented

results. Instead, it whistles right past them. Google insists that its bifurcation request mirrors the

approach taken in other government antitrust cases but ignores the essential fact that none of those

cases ordered bifurcation of discovery after one side had already served its expert disclosures on

remedies while the other had not. Google claims that Plaintiff States asked for such an order in

some of those other cases but, again, ignores that those requests occurred before expert disclosures

and threatened to impose none of the prejudice that Google’s request presents. Further, Google

pretends that it seeks merely to “clarify” the Scheduling Order when, in fact, the Order is clear—

and, even if it were not, Google had years to seek clarification. That Google seeks “clarity” only

now—at the point most advantageous to itself and most disadvantageous to Plaintiff States, the

Court, and the public interest—gives the game away.

       The Court should deny Google’s ill-timed request. Instead, in line with current deadlines,

Google should be required to submit its responsive expert report on equitable remedies. The Court

can then decide the process for post-trial proceedings on equitable remedies later in this litigation

based on a fuller record. Submission of both sides’ pre-trial reports on equitable remedies will

avoid prejudice, better promote judicial economy, and help define what, if any, specific additional

discovery (as opposed to Google’s open-ended, premature proposal) may be necessary after trial.

                                         BACKGROUND

       A. Scheduling Orders

       Contrary to Google’s assertions, no filing or order in this case has stated or even suggested

that the schedule that Google seeks to modify covers only “discovery, pre-trial proceedings, and



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trial on the liability phase of this Action.” Dkt. 571 at 4 (emphasis added). In the parties’ initial

Rule 26(f) Joint Report covering, inter alia, “[t]he subjects on which discovery may be needed,

when discovery should be completed, and whether discovery should be conducted in phases or be

limited to or focused on particular issues,” neither party proposed distinct liability and remedies

phases. Dkt. 108 at 8. The only phasing of discovery that Google proposed was a fact discovery

phase and a distinct expert discovery phase. Id. at 9. Consistent with the parties’ submissions, the

Court’s first Scheduling Order set a single deadline for “fact discovery,” a subsequent deadline for

“expert discovery” and a schedule for “trial.” Dkt. 123 at 1-3. Nowhere in that Order did the Court

state that discovery or trial would be limited to “liability” or exclude equitable remedies.

       Similarly, after this case was transferred to the Southern District of New York, the parties

submitted extensive letter briefs on discovery and trial. Neither party proposed bifurcation of

discovery or suggested that the discovery and trial phases exclude equitable remedies. See In re

Google Digit. Advert. Antitrust Litig. (“MDL”), 1:21-md-03010, Dkt. 358 (S.D.N.Y.), Ex. A

(Plaintiffs’ proposal); MDL, Dkt. 371, Ex. B (Google’s response). And Judge Castel’s Scheduling

Order set deadlines for “[a]ll fact discovery” and “[a]ll expert discovery,” with no indication of

bifurcation. MDL, Dkt. 394 at 2-3, Ex. C (“MDL Scheduling Order”).

       That pattern continued when the case returned to this Court. Neither of the parties’

submissions regarding a “proposed schedule going forward,” Dkt. 153 at 2, mentioned bifurcated

discovery or trial. See Dkt. 156 (Google’s submission); Dkt. 157 (Plaintiff States’ submission).

Accordingly, the currently operative Scheduling Order—like this Court’s initial Scheduling Order

and the MDL Scheduling Order—does not distinguish between liability and remedies discovery

or suggest anywhere that its deadlines are limited to liability issues. See Dkt. 194.




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       B. Remedies Discovery

       The parties have long been engaged in discovery not just on liability, not just on legal

remedies, but also on equitable remedies. As Google concedes, it issued interrogatories in January

2023—after the aforementioned scheduling orders were entered in this Court and the MDL—

seeking discovery on “all remedies,” including “all injunctive or structural relief,” that Plaintiff

States’ “seek in this action.” Dkt 571 at 3 (internal citation and quotation marks omitted). Plaintiffs

States’ responses noted that “this request calls for the premature disclosure of expert opinions”

and that “[e]xpert disclosures will be made within the time prescribed by the Court’s Scheduling

Order.” Plaintiff States’ Responses & Objections to Google LLC’s First Set of Interrogatories, Ex.

D at 7. The States also responded that they would supplement their responses “once [they have]

obtained sufficient discovery to make a complete response.” Id. In other words, both parties have

made clear since at least early 2023 that the fact and expert discovery periods provided for in this

case’s scheduling orders included discovery related to equitable remedies. The States repeated

these responses to Google seven times in supplementations to its interrogatory responses, while

adding further detail as discovery proceeded. See, e.g., Dkt 550-2 at 9, 22-24.

       Consistent with that understanding, on June 7, 2024, the States served on Google an expert

report that “analyze[d] the incentives motivating Google’s conduct at issue in this case,”

“compare[d] Google’s conduct with efficient functioning markets,” and “appl[ied] [the expert’s]

market design expertise to identify the nature of remedies that would restore competition.”

Economist Report, Ex. E ¶ 2 (June 7, 2024). The report devoted more than 20 pages to a discussion

of equitable remedies that would “resolve the effects of Google’s anticompetitive and deceptive

conduct and [] increase competition,” including five specific types of equitable remedies, drawing

upon the expert’s analysis in the rest of the report. Id. ¶ 203.



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       C. Google’s “Surprise[]” and Belated Request for “Clarification”

       In a meet and confer one week after receiving Plaintiff States’ expert reports, Google raised

for the first time its view that the recently concluded fact discovery phase and ongoing expert

discovery did not include discovery related to equitable remedies. Dkt. 571 at 5. Google claims

that it was “surprised” that the States’ expert disclosures included discussion of equitable remedies,

id. at 4-5—despite the lack of any filing or order suggesting bifurcation of discovery or trial and

numerous indications by both parties that the ongoing discovery period included discovery on

remedies. Plaintiff States responded that, “[a]t this time, the States do not believe additional

discovery on equitable remedies is necessary” and that Google could raise “any concerns as to

feasibility or any purported element of equitable relief” in its forthcoming expert reports. Dkt. 550,

Ex. B at 15-16. The States also said they would “review[] any authority from Google that supports

a different approach or position” and consider any proposed stipulation. Id. at 16.

       Upon reviewing Google’s proposed stipulation, Plaintiff States reiterated their position that

they “do not believe that additional discovery on equitable remedies is necessary at this time” but

would consider entering into an agreement “regarding post-trial briefing related to equitable and

injunctive remedies.” Id. at 11. In response, Google pointed to two cases in which it said courts

“adopt[ed] the approach reflected in the draft stipulation and proposed order”: United States v.

Google, No. 1:20-cv-03010 (D.D.C.) (“Search”), and In re Google Play Store Antitrust Litig., No.

3:21-md-02981 (N.D. Cal.) (“Play”). Dkt. 550, Ex. B at 9-10. Then, in a follow-up email, Google

took the position that the Scheduling Order in this case “is silent on when and how the parties will

conduct expert discovery on the injunctive relief requested by Plaintiffs,” and, as a result, Google

needed “prompt resolution from the Court” in advance of its expert disclosure deadline. Id. at 8-9.




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        Following a further meet and confer on Wednesday, July 10, Plaintiff States reiterated their

opposition to Google’s motion for purported “clarification.” The States pointed out that they had

already submitted a report addressing equitable remedies “under the current Scheduling Order”

and that, given the circumstances and posture of the case, Google’s proposal was not warranted.

Id. at 2. Still, seeking to accommodate Google’s apparent confusion regarding the Scheduling

Order, the States offered to consider a request for a “reasonable extension” of Google’s July 30

expert disclosure deadline. Id. Google did not respond to the States’ offer and instead proceeded

to file its Motion. Id. at 1; see Dkt. 550. Google also filed a motion for an expedited briefing

schedule, Dkt. 551, and Plaintiff States responded, Dkt. 553.

        After Google filed its motion, at the Court’s request, the parties conferred regarding a

briefing schedule for this dispute and an accompanying extension of Google’s expert disclosure

deadline. The parties proposed a briefing schedule and a one-week extension for Google’s deadline

to disclose “responsive expert opinions that would (if the Court were to deny the Motion to Clarify)

include issues relating to equitable relief,” with corresponding extensions for rebuttal reports and

expert discovery. Dkt. 560 at 1; accord Dkt. 562. During the parties’ discussions, Google informed

the States that it “currently expect[s] two of [its] experts to address injunctive relief, including one

of [its] economists (who will cover other issues as well).” Ex. F (Email from P. Yetter to Z. DeRose

(July 12, 2024)). Google also confirmed that, if the Court granted Google’s motion, Google would

submit only “the non-injunctive part” of its economist’s report by the early-August disclosure date

and would otherwise not submit any of its expected expert opinions on equitable remedies. Id.

                                       LEGAL STANDARD

        A court “may order a separate trial of one or more separate issues” if doing so would

promote “convenience,” “avoid prejudice,” or “expedite and economize” the proceedings. Fed R.



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Civ. P. 42(b). Of these, “[p]rejudice is the Court’s most important consideration,” including the

prejudice to the non-moving party and the “public interest” from “the considerable delay that will

result if the Court orders separate trials and separate discovery periods.” Laitram Corp. v. Hewlett-

Packard Co., 791 F. Supp. 113, 115-16 (E.D. La. 1992). In addition, in order not to prejudice

parties’ Seventh Amendment jury right, “the issue to be tried [separately] must be so distinct and

separate from the others that a trial of it alone may be had without injustice.” McDaniel v.

Anheuser-Busch, Inc., 987 F.2d 298, 305 (5th Cir. 1993) (cleaned up). Separate trials on separate

issues “is not the usual course that should be followed.” Id. at 304. The party moving for

bifurcation bears the burden of proving that it is “appropriate.” j2 Glob. Commc’ns, Inc. v.

Captaris, Inc., 2009 WL 10672155, at *2 (E.D. Tex. Apr. 16, 2009).

       Courts assessing motions to bifurcate discovery apply the same basic standard. Courts ask

whether bifurcation will “cause undue delay [or] inefficiency,” “waste resources,” “unfairly

prejudice” the parties, or “further the interests of judicial economy or fairness.” Brown Bottling

Grp., Inc. v. Imperial Trading Co., 2022 WL 4110918, at *7 (S.D. Miss. Sept. 7, 2022); see also

McGeem v. GEICO Gen. Ins. Co., 2022 WL 22308141 (S.D. Miss. Nov. 4, 2022) (applying the

Rule 42(b) standard to bifurcation of both trial and discovery); Polycom, Inc. v. Codian, Ltd., 2007

WL 7658922 (E.D. Tex. Apr. 23, 2007) (same).

       Under the Federal Rules, a scheduling order “may be modified only for good cause and

with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). The party seeking to modify the schedule bears

the burden of showing “that the deadlines cannot reasonably be met despite the diligence of the

party needing the extension.” Squyres v. Heico Companies, L.L.C., 782 F.3d 224, 237 (5th Cir.

2015) (internal quotation marks omitted). Courts considering a modification request must weigh

“(1) the explanation for the failure to timely comply with the scheduling order; (2) the importance



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of the modification; (3) potential prejudice in allowing the modification; and (4) the availability of

a continuance to cure such prejudice.” Id. (cleaned up).

                                           ARGUMENT

        Google’s motion ignores the relevant legal standards, mischaracterizes its request, tries to

disguise Google’s own missteps, and obscures the severe prejudice its request would impose. First,

as a request for bifurcation of discovery, Google’s Motion is wholly deficient under the applicable

legal standard. Second, Google misrepresents a handful of cases that, in fact, highlight the

unprecedented and highly prejudicial nature of Google’s request. Third, Google does not even

attempt to show the required good cause to justify modification of the Scheduling Order.

   I.      Google’s Motion Does Not Meet the Requirements for Bifurcation of Discovery.

        The Federal Rules and case law provide that courts must “carefully consider[]” three

“factors” when assessing a bifurcation request: whether bifurcation will “1) promote convenience,

2) expedite proceedings, or 3) avoid unfair prejudice to a party.” Brown Bottling Grp., 2022 WL

4110918, at *2 (citing Fed. R. Civ. P. 42(b)). Prejudice—in terms of delay, unfairness, or

impingement on a party’s jury right—is a court’s “most important consideration” in that analysis.

Laitram Corp., 791 F. Supp. at 115. Google’s bifurcation proposal, at this point in the case, would

significantly prejudice Plaintiff States and promote neither judicial economy nor convenience.

        A. Google’s Strategic Request Would Maximally Prejudice Plaintiff States.

        Google’s proposal would prejudice Plaintiff States in multiple ways. First, Google’s

proposal would grant Google a head start of several months in reviewing and preparing to oppose

the expert opinions on remedies that the States have already disclosed to Google, while leaving

the States in the dark on Google’s own remedies opinions. There is simply no good reason for such

an unfair outcome: Google is preparing to submit expert reports on equitable remedies under the

current Scheduling Order and seeks nothing more than permission not to do so. Google tries to
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hide this obvious unfairness, claiming that Plaintiff States would not “suffer” “any prejudice” from

Google’s request because the States “would have the same right as Google to conduct additional

fact and expert discovery” on equitable remedies after trial. Dkt. 571 at 15. Yet, the relevant

prejudice arises not from any future discovery but from the discovery that has already occurred.

Courts routinely reject proposals for bifurcation that would “sequence” discovery in a way that

advantages one party over the other. See, e.g., Brown Bottling Grp., 2022 WL 4110918, at *7.

        Second, Google’s proposed schedule would unreasonably delay this case in a manner

prejudicial to Plaintiff States. Plaintiff States have been proceeding with discovery on equitable

remedies and devoted significant time and expense to submission of an expert report on those

remedies. And Google has long been on notice of this fact, having been told by Plaintiff States in

interrogatory responses going back to March of 2023 that they would provide more detail on the

equitable remedies they seek in forthcoming “[e]xpert disclosures” to be made “within the time

prescribed by the Court’s Scheduling Order.” Ex. D at 7. Instead of disclosing its own remedies

reports now and proceeding with expert discovery before trial, as scheduled, Google asks to put

that process on hold for several months and restart it after trial, delaying final resolution. But “[a]n

unreasonable delay in a case’s resolution amounts to prejudice to the [party] opposing

[bifurcation]” and “is clearly not in the public interest.” Laitram Corp., 791 F. Supp. at 116.

        Third, Google’s proposal threatens to prejudice Plaintiff States’ jury-trial right. To protect

litigants’ Seventh Amendment right, the issue to be bifurcated “must be so distinct and separate

from the others that a trial of it alone may be had without injustice.” McDaniel, 987 F.2d at 305.

Even when trial proceedings are bifurcated, courts often permit pre-trial discovery on all issues to

protect parties’ ability to discover common evidence, reduce disputes over which category some

requested discovery falls into, and avoid “duplicative discovery.” Lubrizol Specialty Prods., Inc.



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v. Flowchem LLC, 2016 WL 11745554, at *2 (S.D. Tex. June 21, 2016). Indeed, as Google recently

argued elsewhere, bifurcation of discovery may be inappropriate even in complex antitrust suits

where the trial itself is bifurcated into liability (in front of a jury) and remedies (in front of a judge)

given overlapping issues. See United States v. Google LLC (“EDVA Ad Tech”), No. 1:23-cv-

00108-LMB-JFA, Dkt. 282 at 7-8 (E.D. Va. July 5, 2023). Or, as Google put it in another case,

“Part of the assessment of whether competition has been harmed necessarily requires a comparison

of how a market performed with the alleged unlawful conduct versus how it would have performed

(or would perform going forward) had that conduct never occurred or been enjoined, an issue tied

directly to the remedy that Plaintiffs will seek.” Joint Status Report at 14, Search, (D.D.C. Nov.

23, 2021), Dkt. 256.

        To be sure, the degree of overlap between liability and remedies varies from case to case.

But here, the overlap in expert discovery is clear: Plaintiff States’ already-submitted report on

remedies also addresses liability issues and analyzes them together; and Google has represented

that one of its in-progress reports on remedies addresses liability issues, too. See supra pp. 4, 6.

Google’s proposal would require the parties to gerrymander those reports into liability and

remedies components and depose the same experts twice in the two discovery phases, all while

likely raising disputes over the bounds of permitted expert discovery in each phase. Plaintiff States,

both sides’ experts, and the Court would all suffer from this prejudicial outcome.

        B. Google’s Proposal Would Not Expedite Proceedings or Promote Convenience.

        Bifurcation at this stage would also not “expedite and economize” this litigation or promote

“convenience” relative to the current schedule and Plaintiff States’ agreement. Fed. R. Civ. P.

42(b). Google is correct, as the Plaintiffs in Search argued, that bifurcation of discovery in complex

antitrust trials can often avoid inefficiencies by limiting experts’ need to opine on specific remedies

before a liability determination and avoiding duplicative expert depositions. Dkt 571 at 11 (citing
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Search, Joint Status Report at 10). But, unlike in Search—where Plaintiffs requested, and the court

ordered bifurcation well before opening expert disclosures—those efficiencies are no longer

available here. Here, Plaintiff States have already disclosed evidence regarding equitable remedies,

and Google is prepared to do the same. At this late stage, it is Google’s proposal that will require

revisions to reports, duplicative expert depositions, and further delay. Google entirely ignores this

critical difference between the cases, copying and pasting the States’ arguments in Search when

they simply do not apply.

       Further, Plaintiff States have already agreed to “separate proceedings on liability and

remedy,” Dkt. 571 at 8 (internal quotation marks omitted), in the form of a jury trial on liability

followed by post-trial briefing and other proceedings on equitable remedies as this Court may find

appropriate, Dkt. 550 Ex. B at 11. That will permit all the efficiencies of a bifurcated trial. In

addition, the States do not oppose additional post-trial discovery on remedies to the extent it may

become necessary and efficient after assessing both sides’ pre-trial reports. But such an assessment

is impossible, and Google’s request for bifurcation is therefore premature, because Google refuses

to even produce the remedies reports that it has prepared. Plaintiff States do not oppose bifurcation

per se; they oppose Google’s request for a one-sided pause on pre-trial expert discovery at this

juncture—the most convenient time for Google and the most inefficient and prejudicial time for

everyone else.

       Still, even if Google’s proposal did promise some efficiencies or convenience, its

disproportionate prejudice compels its rejection. As courts in this circuit hold, “even if bifurcation

might somehow promote judicial economy, courts should not order separate trials when bifurcation

would result in unnecessary delay, additional expense, or some other form of prejudice.” Laitram

Corp., 791 F. Supp. at 115 (cleaned up); Guedry v. Marino, 164 F.R.D. 181, 186 (E.D. La. 1995).



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   II.      Google Offers No Precedent for Its Unjustified and Prejudicial Request.

         Google incorrectly contends that its proposal is consistent with “a common practice of

courts in complex antitrust cases.” Dkt. 571 at 6. Yet not one of the six cases Google relies upon

granted the bizarre and prejudicial relief Google requests: a stay of equitable remedies discovery

after one party served its expert report on remedies but before the other served its own.

         Search. In the United States’ and a multistate coalition’s consolidated suits against Google

related to Google Search, the Court entered a scheduling order that did not provide for bifurcation

of discovery or trial. Ex. G, Search, (Dec. 21, 2020), Dkt. 85. Subsequently, well before the fact

discovery or expert disclosure deadlines, the parties requested bifurcated discovery and trial, Ex.

H at 8-13, Search, (June 7, 2023), Dkt. 256, which the Court promptly granted, see Ex. I, Search,

(Dec. 6, 2021), Dkt. 264. As a result, neither party was obligated to, or did, “offer specific [expert]

opinions regarding particular remedies beyond that necessary to demonstrate liability” until the

remedies phase. Id. at 2.

         EDVA Ad Tech. Similarly, in the parallel ad tech litigation against Google in Virginia, the

plaintiffs moved well before the fact discovery deadline and any expert disclosures to “clarify” the

scheduling order. The plaintiffs argued—like Google here—that the schedule did not cover

discovery or proceedings on equitable remedies and instead only applied to “liability and

damages.” Ex. K at 1, EDVA Ad Tech, (June 30, 2023), Dkt. 277, Ex. J at 1; see Ex. K at 1, EDVA

Ad Tech, (Mar. 31, 2023), Dkt. 94 (initial scheduling order). Google strenuously objected to the

bifurcation of discovery, arguing that, “[w]here issues are intertwined,” as there, “discovery should

be conducted simultaneously”; that non-bifurcated discovery is “in most instances . . . more

efficient”; that the plaintiffs’ proposal would cause prejudicial delay; and that the scheduling order

was “unmistakably clear” in setting out unified fact and expert discovery periods for all issues. Ex.



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L at 1, 6-7, EDVA Ad Tech, (July 5, 2023), Dkt. 282 (cleaned up). The court agreed that “some

clarification” on the scheduling order was needed and substantially sided with the plaintiffs,

rejecting Google’s argument that bifurcation of discovery “would be prejudicial at this stage of the

proceedings.” Ex. M at 2, EDVA Ad Tech, (July 11, 2023), Dkt. 283. There, too, bifurcation was

requested, and ordered, multiple months before the close of fact discovery or expert disclosures.

       Notably, Google tries to distance itself from its vigorous opposition to bifurcated discovery

in Virginia. In a footnote, Google’s motion claims that Google opposed bifurcation in Virginia

simply because it “misunderstood” the court’s scheduling order. Dkt. 556 at 11 n.10. Yet, once the

Virginia court corrected Google’s purported misunderstanding in mid-2023, why did Google not

then seek clarification in this case, which had a scheduling order with the same features Google

“misunderstood” in Virginia? See MDL Scheduling Order, Ex. C. Why did Google not raise

bifurcation in its proposed schedule when this case returned to this Court? See Dkt. 156. Why did

Google not seek clarification after the current Scheduling Order was entered but before the close

of fact discovery, as parties in EDVA Ad Tech, Search, and other cases discussed below did? Why

did it wait until now? Google gives no answers.

       Play. In this litigation against Google, the parties made clear from the outset that initial

discovery and trial would not include equitable remedies. See Ex. N at 6, In re Google Play Store

Antitrust Litig. (“Play”), No. 3:21-md-02981-JD (Sept. 28, 2021), Dkt. 91 (plaintiffs’ proposal for

a schedule leading up to a “liability trial”); id. at 11 (Google’s proposal that “any determination of

equitable remedies . . . be efficiently addressed . . . following the jury proceedings”). Later, after

fact and expert discovery concluded (including expert disclosures by both sides), the parties and

the Court fleshed out that shared understanding in a proposed trial structure, Ex. O, Play, (May 12,




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2023), Dkt. 505, a schedule for post-trial proceedings, Play, Dkt. 904 (Jan. 11, 2024), Ex. P, and

an order on fact and expert discovery on remedies, Dkt. 550-13.

          FTC v. Meta. Similarly, in the Federal Trade Commission’s (“FTC”) suit against Meta,

the parties both proposed bifurcated discovery and trial in their initial scheduling submissions,

long before the close of fact discovery or expert disclosures. Ex Q at 2-3, FTC v. Meta, No. 1:20-

cv-03590 (JEB) (D.D.C. Feb 22, 2022), Dkt. 100. The Court adopted the parties’ joint proposal,

which explicitly provided for bifurcation. Ex R , FTC v. Meta, (D.D.C. Mar. 3, 2022), Dkt. 103.

          FTC v. Amazon. The FTC’s and a coalition of states’ antitrust suit against Amazon follows

the same basic pattern. There, the plaintiffs moved for a bifurcated trial long before the close of

fact discovery, which is set for August of 2025, or the exchange of any expert reports. See Dkt.

550-10 (FTC v. Amazon, No. 2:23-cv-01495, (Feb. 29, 2024), Dkt. 167) (plaintiffs’ motion); Ex.

S (schedule), FTC v. Amazon, (Feb. 13, 2024), Dkt. 159.

          Microsoft. Finally, Microsoft offers no support for Google’s unprecedented request. The

D.C. Circuit’s objection to the Microsoft district court’s remedial ruling was not that the latter

failed to bifurcate discovery and trial; it was that the district court barred Microsoft from

introducing any of its proffered evidence related to remedies in an evidentiary hearing. United

States v. Microsoft Corp., 253 F.3d 34, 98, 101 (D.C. Cir. 2001). Here, Plaintiff States do not

oppose post-trial proceedings on equitable remedies, including any evidentiary hearing the Court

may find necessary after the liability ruling. What the States oppose is a unilateral and prejudicial

delay in expert discovery on equitable remedies, which Microsoft plainly does not require.

   III.      Google’s Strategic and Unexplained Delay and the Resulting Severe Prejudice to
             Plaintiffs Foreclose a Finding of Good Cause to Modify the Scheduling Order.

          In bringing its motion to “clarify,” Google takes the position that the Court, sub silentio,

limited its entire ordered schedule to liability issues. See Dkt. 571 at 4 (conceding that “the


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Scheduling Order is silent on post-trial remedies proceedings”). It does so in the face of the

unambiguous language of the operative Scheduling Order (and all previous scheduling orders) in

this case, the lack of any pre-scheduling discussions of bifurcation, the parties’ conduct in

discovery, and the case law indicating that bifurcation is the exception, not the rule. Accordingly,

Google’s motion is nothing less than a motion to modify the Scheduling Order.

        Yet, Google does not even attempt to meet its burden under Rule 16(b)(4) to show “good

cause” for such a modification. Google has offered no “explanation for [its] failure to timely

comply with the [S]cheduling [O]rder” and disclose its remedies reports by the Order’s deadline,

Squyres, 782 F.3d at 237, as it has been on notice for nearly a year and a half of Plaintiffs’ intention

to disclose expert reports on remedies “within the time prescribed by the Court’s Scheduling

Order,” Ex. D at 7. Google has not substantiated the “importance of the modification,” Squyres,

782 F.3d at 237 (cleaned up), given the States (a) have already agreed to post-trial proceedings on

remedies, (b) offered to consider a reasonable extension of Google’s expert disclosure deadline to

accommodate Google’s purported “surprise,” and (c) ask merely that Google serve the expert

reports it is already preparing and continue with the non-bifurcated discovery that is well

underway. And, critically, Google entirely ignores the blatant prejudice that its request would

impose and offers no “cure [for] such prejudice.” Id.

        Even if the Court finds that Google’s motion is properly styled as a motion to “clarify” and

need not meet the good-cause standard, the Court can and should still deny Google’s motion

because it independently fails to meet the legal standard for bifurcation discussed above and lacks

case-law support for the relief it seeks.

                                            CONCLUSION

        For the foregoing reasons, the Court should deny Google’s motion.



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                        CERTIFICATE OF SERVICE AND SEALING

       I certify that, on July 19, 2024, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).

       I also certify that, on July 19, 2024, a motion to seal an exhibit to this document was filed

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in this case and will be publicly filed in redacted form per Local Rule CV-5(a)(7)(E).

                                                    /s/ Noah S. Heinz
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